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1999R01848



                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                  Hon. Faith S. Hochberg

             v.                           Criminal No. 01-161-03

FLAVIO SUAREZ                             ORDER FOR DISMISSAL


             Pursuant to Rule 48(a) of the Federal Rules of Criminal

Procedure and by leave of Court endorsed hereon, Paul J. Fishman,

the United States Attorney for the District of New Jersey, hereby

dismisses the Indictment, Criminal No. 01-161, against defendant

Flavio Suarez, which indictment was filed on March 8, 2001,

charging the defendant with a violation of Title 18, United

States Code, Section 1956, for the reason that further

prosecution of this defendant at this time is not in the best

interests of the United States.

             This dismissal is without prejudice.




                                       J. GILMORE CHILDERS
                                       Attorney for the United States,
                                       Acting Under Authority Conferred
                                       by 28 U.S.C.§ 515

          Leave of Court is granted for the filing of the
foregoing dismissal.




Dated:~-tO- 18,.
